Case
 Case1:21-cv-10136-AK
       1:21-cv-10136-AK Document
                         Document211-1
                                  50 Filed
                                       Filed11/24/21
                                             07/17/24 Page
                                                       Page1 1ofof3 3
Case
 Case1:21-cv-10136-AK
       1:21-cv-10136-AK Document
                         Document211-1
                                  50 Filed
                                       Filed11/24/21
                                             07/17/24 Page
                                                       Page2 2ofof3 3
Case
 Case1:21-cv-10136-AK
       1:21-cv-10136-AK Document
                         Document211-1
                                  50 Filed
                                       Filed11/24/21
                                             07/17/24 Page
                                                       Page3 3ofof3 3
